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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 16-cv-01301-PAB-GPG

RCHFU, LLC, a Colorado limited liability company, et al.,

          Plaintiffs,

v.

MARRIOTT VACATIONS WORLDWIDE CORPORATION, et al.,

          Defendants.


                                     FINAL JUDGMENT


          In accordance with the orders filed during the pendency of this case, and

pursuant to Fed. R. Civ. P. 58(a), the following Final Judgment is hereby entered.

          Pursuant to the Order [Docket No. 628] of Chief United States District Judge

Philip A. Brimmer, entered on September 20, 2021, it is

          ORDERED that Defendants' Supplemental Motion for Summary Judgment

[Docket No. 598] is GRANTED. It is further

          ORDERED that judgment shall enter for defendants and against plaintiffs. It is

further

          ORDERED that defendants are awarded their costs, to be taxed by the Clerk of

the Court, pursuant to Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1. It is further

          ORDERED that this case is closed.
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      Dated: September 21, 2021.



                                           FOR THE COURT:

                                           Jeffrey P. Colwell, Clerk


                                           By s/ S. Grimm
                                                     Deputy Clerk




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